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IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
DISTRICT OF PENNSYLANIA

MUMIA ABU-JAMAL : Case No. 15-Cv-00967
: (RDM)(KM)
Plaintiff, :
Judge Robert D. Mariani
v.
: Magistrate Judge Karoline
JOHN KERESTES, et al. : Mehalchick
Defendants. >: . NOT ELECTRONICALLY
FILED
PROPOSED ORDER

It is hereby ORDERED that plaintiffs motion to file the accompanying
motion under seal is hereby GRANTED.

Dated:

 

USD].
